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14   and OTTOMOTTO LLC

15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   WAYMO LLC,                                          Case No.     3:17-cv-00939-WHA
19                        Plaintiff,                     CORRECTED DECLARATION OF
                                                         WENDY J. RAY IN SUPPORT OF
20          v.                                           DEFENDANTS UBER
                                                         TECHNOLOGIES, INC. AND
21   UBER TECHNOLOGIES, INC.,                            OTTOMOTTO LLC’S CORRECTED
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                   OPPOSITION TO WAYMO’S
22                                                       MOTION FOR ORDER TO SHOW
                          Defendants.                    CAUSE WHY DEFENDANTS
23                                                       SHOULD NOT BE HELD IN
                                                         CONTEMPT
24
                                                         Date:    August 16, 2017
25                                                       Time:    8:00 a.m.
                                                         Ctrm:    8, 19th Floor
26                                                       Judge:   Hon. William Alsup
27                                                       Trial Date: October 10, 2017
28

     CORRECTED RAY DECLARATION ISO OPPOSITION TO WAYMO’S MOTION FOR ORDER TO SHOW CAUSE
     Case No. 3:17-cv-00939-WHA
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 1           I, Wendy J. Ray, declare as follows:

 2           1.      I am a partner with the law firm of Morrison & Foerster LLP, counsel of record for

 3   Defendants Uber Technologies, Inc. and Ottomotto LLC (collectively “Uber”) in this action. I

 4   am a member in good standing of the Bar of the State of California. I make this declaration in

 5   support of Uber’s Corrected Opposition to Waymo’s Motion for Order to Show Cause Why

 6   Defendants Should Not Be Held in Contempt. I make this declaration based on personal

 7   knowledge and, if called as a witness, I could and would testify competently to the matters set

 8   forth herein.

 9           2.      At the time I signed my July 5, 2017, declaration, I believed the information

10   therein was accurate. Since then MoFo has learned additional information that has led to the

11   filing of this corrected declaration.

12           3.      As part of its efforts to comply with the March 16, 2017 Order, Uber’s vendor,

13   Stroz Friedberg, forensically collected approximately 235 terabytes of data, including data from

14   nine servers and 148 different custodians. The custodian collection included both email and data

15   from 280 different computers. These efforts uncovered no downloaded materials at Uber.

16           4.      On June 1, 2017, I participated in a telephone conference with David Perlson of

17   Quinn Emanuel and Special Master John Cooper, among other counsel, to meet and confer

18   following the Court’s May 31, 2017 deadline in its May 11 order.

19           5.      During the telephone conference, I represented that Uber and MoFo did not have

20   the 14,000 files in their possession.

21           6.      When Mr. Perlson asked for additional information, I did not provide specifics

22   because I had the Stroz privilege issues in mind.

23           7.      Contrary to James Judah’s June 2, 2017 summary (a true and correct copy of

24   which was attached as Exhibit 7 to Waymo’s Motion), I did not make any statements about

25   whether MoFo had any copies, excerpts, or summaries of “downloaded materials.”

26           8.      The only downloaded materials (or any copies, excerpts or summaries thereof) that

27   MoFo has in connection with its representation of Uber are such materials, to the extent they may

28   appear excerpted in or as an exhibit to the Stroz Report, which as explained in the declaration of

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 1   Sylvia Rivera, is listed on the logs and is the subject of on an ongoing privilege dispute. In

 2   addition, MoFo has some materials that it received in its role as personal counsel for

 3   Levandowski—materials that Levandowski provided to Stroz, and that Levandowski authorized

 4   Stroz to provide to MoFo in its role as personal counsel for him, as explained in the July 12, 2017

 5   Declaration of Eric Tate (Dkt. 883). Uber has never received copies of these documents and has

 6   never had custody or control over them, as they were provided to MoFo solely in connection with

 7   MoFo’s prior representation of Anthony Levandowski. Indeed, Uber did not know MoFo even

 8   had these materials until yesterday.

 9          9.      Boies Schiller’s June 12, 2017 email (attached to Waymo’s motion as Exhibit 7)

10   also stated that MoFo may have downloaded materials to the extent they may appear in certain

11   materials Mr. Levandowski and other persons provided to Stroz to which MoFo was given limited

12   access during the investigation under the terms of the Levandowski-Stroz Agreement and the

13   investigation protocol. This statement was provided in an abundance of caution because MoFo

14   could not previously rule out that it may have such material. After further investigation,

15   including checking with an attorney on maternity leave, MoFo has determined that it does not

16   have any such material in its possession. However, as noted in the preceding Paragraph 7, further

17   investigation by MoFo also has revealed that MoFo has some materials that Levandowski

18   provided to Stroz, and that Levandowski authorized Stroz to provide to MoFo in its role as

19   personal counsel , as explained in the July 12, 2017 Declaration of Eric Tate (Dkt. 883). Like

20   Uber, Boies Schiller learned about these documents yesterday.

21          10.     As of this date, no response has been received from Stroz with regard to Uber’s

22   June 12, 2017 written request to return any downloaded materials to Waymo.

23          11.     As of this date, no response has been received from Mr. Levandowski with regard

24   to Uber’s June 12, 2017 written demand informing him he was required to instruct Stroz to return

25   any material to Waymo.

26          12.     Nina Qi was deposed in conjunction with this litigation on June 22, 2017.

27          13.     Uber received Mr. Levandowski’s permission, through counsel, to produce the

28   unredacted protocol attached to the March 21, 2016 Levandowski-Stroz Agreement today. A true

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 1   and correct copy of the March 21, 2016 agreement with the attached protocol is attached as

 2   Exhibit A to my July 5, 2017 declaration.

 3          I declare under the penalty of perjury that the foregoing is true and correct. Executed this

 4   12th day of July, 2017 at Los Angeles, California.

 5
                                                               /s/ Wendy J. Ray
 6                                                               WENDY J. RAY
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 1                               ATTESTATION OF E-FILED SIGNATURE

 2          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

 3   Declaration. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Wendy J. Ray has

 4   concurred in this filing.

 5   Dated: July 5, 2017                                      /s/ Arturo J. González
                                                                  Arturo J. González
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